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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
CASE NO. 21-cr-178-APM
V.

PETER J. SCHWARTZ,

Defendant.
VERDICT FORM
Count 1: Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous
Weapon
Guilty Not Guilty

If you have marked Guilty as to Count 1 above, proceed to Count 2. If not, you must
consider the lesser offense:

Assaulting, Resisting, or Impeding Certain Officers

Guilty Not Guilty
Count 2: Obstructing Officers During a Civil Disorder

x

Guilty Not Guilty

Count 3: Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous
Weapon

x

Guilty Not Guilty

If you have marked Guilty as to Count 3 above, proceed to Count 4. If not, you must consider
the lesser offense:

Assaulting, Resisting, or Impeding Certain Officers

Guilty Not Guilty
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Count 4: Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous
Weapon
Guilty Not Guilty

If you have marked Guilty as to Count 4 above, proceed to Count 7. If not, you must
consider the lesser offense:

Assaulting, Resisting, or Impeding Certain Officers

Guilty Not Guilty

Count 7: Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous
Weapon

xX

Guilty Not Guilty

If you have marked Guilty as to Count 7 above, proceed to Count 8. If not, you must
consider the lesser offense:

Assaulting, Resisting, or Impeding Certain Officers

Guilty Not Guilty
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Count 8: Obstructing an official proceeding
Guilty Not Guilty
Count 9: Entering or Remaining in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon

Ns

Guilty | Not Guilty

If you have marked Guilty as to Count 9 above, proceed to Count 10. If not, you must
consider the lesser included offense:

Entering or Remaining in a Restricted Building or Grounds

Zo

Guilty Not Guilty

Count 10: Disorderly or Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon

x

Guilty Not Guilty

If you have marked Guilty as to Count 10 above, proceed to Count 11. Ifnot, you must
consider the lesser included offense:

Disorderly or Disruptive Conduct in a Restricted Building or Grounds

Guilty Not Guilty
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Count 11: Engaging in Physical Violence in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon

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Guilty Not Guilty

If you have marked Guilty as to Count 11 above, proceed to Count 12. Ifnot, you must
consider the lesser included offense:

Engaging in Physical Violence in a Restricted Building or Grounds

Guilty Not Guilty

Count 12: Disorderly Conduct in a Capitol Building

Guilt) Not Guilty

Count 13: Act of Physical Violence in a Capito] Building

x

Guilty © Not Guilty

Dated this i day of nam , 2022
